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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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 SUPERB MOTORS, INC., TEAM AUTO SALES, LLC,
 ROBERT ANTHONY URRUTIA, 189 SUNRISE HWY                                  Case No.: 2:23-cv-6188 (JMW)
 AUTO LLC, NORTHSHORE MOTOR LEASING LLC,
 BRIAN CHABRIER, individually and derivatively as a
 member of NORTHSHORE MOTOR LEASING LLC,
 JOSHUA AARONSON, individually and derivatively as                        RULE 7.1 CORPORATE
 a member of 189 SUNRISE HWY AUTO, LLC, JORY                              DISCLOSURE STATEMENT
 BARON, 1581 HYLAN BLVD AUTO LLC, 1580
 HYLAN BLVD AUTO LLC, 1591 HYLAN BLVD
 AUTO LLC, 1632 HYLAN BLVD AUTO LLC, 1239
 HYLAN BLVD AUTO LLC, 2519 HYLAN BLVD
 AUTO LLC, 76 FISK STREET REALTY LLC, 446
 ROUTE 23 AUTO LLC AND ISLAND AUTO
 MANAGEMENT, LLC,
                                     Plaintiffs,

                       -v. -

 ANTHONY             DEO,        SARAH          DEO,        HARRY
 THOMASSON, DWIGHT BLANKENSHIP, MARC
 MERKLING, MICHAEL LAURIE, THOMAS JONES,
 CPA, CAR BUYERS NYC INC., GOLD COAST CARS
 OF SYOSSET LLC, GOLD COAST CARS OF
 SUNRISE           LLC,       GOLD         COAST          MOTORS
 AUTOMOTIVE GROUP LLC, GOLD COAST
 MOTORS OF LIC LLC, GOLD COAST MOTORS OF
 ROSLYN LLC, GOLD COAST MOTORS OF
 SMITHTOWN LLC, UEA PREMIER MOTORS CORP.,
 DLA CAPITAL PARTNERS INC., JONES, LITTLE &
 CO., CPA'S LLP, FLUSHING BANK, and LIBERTAS
 FUNDING LLC,
                                     Defendants.
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           Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, and to enable the Judges of

the Court to evaluate possible disqualification or recusal, Plaintiff, Libertas Funding LLC declares




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that it has no parent corporation and no publicly traded corporation currently owns 10% or more

of its stock.

Dated: December 22, 2023
                                              WEIR GREENBLATT PIERCE LLP

                                              By: /s/ Bonnie R. Golub
                                                  Bonnie R. Golub, Esquire (BG1995)
                                                  667 Madison Ave, 5th Floor
                                                  New York, NY 10065-8029
                                                  P: (917) 475-8885
                                                  F: (917) 475-8884
                                                  Email: bgolub@wgpllp.com
                                                  Attorneys for Defendant,
                                                  Libertas Funding, LLC




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